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                        UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF COLORADO

   In re:                                       )
                                                )
   ROBERT EDWARD HAMMETT                        )
   SSN: XXX-XX-2842                             )
                                                )
                                                )       CASE NO. 17-15507-KHT
   SUZANNE ANDREA HAMMETT                       )
   SSN: XXX-XX-2514                             )       CHAPTER 7
                                                )
   Debtor(s).                                   )


                MOTION TO APPROVE SETTLEMENT AGREEMENT



          COMES NOW, Jeffrey Weinman, Chapter 7 Trustee in the above referenced
   case (“Trustee”), hereby MOVES this Honorable Court for an order APPROVING the
   Settlement herein pursuant to Fed. R. Bankr. P. 9019, upon the following grounds:

          1.      On June 13, 2017, Robert Edward Hammett and Suzanne Andrea
   Hammett (the “Debtors”) commenced this case by filing a petition for relief under Title
   11, Chapter 7 of the United States Code (“the Filing Date”). A 341 Meeting of Creditors
   was held on July 11, 2017.

         2.      Jeffrey Weinman is the duly appointed trustee of the Debtors’ Chapter 7
   bankruptcy estate.

          3.     In the Debtors’ amended schedules, they listed an asset described as
   “Motor Vehicle Accident 5/15/15 (owed to Debtor)” with a corresponding exemption of
   $500,0000 on the Amended Schedule C. (“PI Claim”).

          4.     Later, the State Court awarded Mrs. Hammett $20,431.00 of damages in
   addition to costs and interest totaling approximately $37,072.83 (“Damages”). It is
   undisputed that $15,306.13 of the Damages was incurred for the treatment of Mrs.
   Hammett’s injuries (“Non-Exempt Damages”).

         5.     On October 12, 2018, Debtors filed a motion which requested this court
   compel the Trustee to abandon the PI Claim. The Trustee responded arguing that the
   Non-Exempt Damages were still property of the estate and not subject to abandonment.

           6.     To resolve the Motion to Abandon, the Trustee and Debtors have reached
   a Settlement Agreement (“Settlement”). The Settlement is attached. However, by its
   material terms Debtors will instruct their state court counsel to turnover $6,000.00 to the
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   Trustee upon receipt from Allstate Fire and Casualty Insurance Company. Upon receipt,
   the Trustee will withdraw his response to the Motion to Abandon. It is the intent of the
   parties that if this court does not approve the agreement then it is void and they will
   continue their dispute. It is the intent of the parties that if Allstate Fire and Casualty
   Insurance Company does not pay Debtors’ attorney (or if they cannot be compelled to
   pay) then this agreement is void and the parties will continue their dispute. It is only
   upon the receipt and successful negotiation of the $6,000.00 that the dispute will be
   resolved. The complete agreement is more fully set forth as attached hereto (See
   Attached Exhibit A; Settlement Agreement).

          7.      Trustee does not warrant or guarantee a successful outcome of the
   Settlement.

          8.      This Settlement is subject to Bankruptcy Court approval in the above-
   captioned proceeding upon such notice as may be required. All payments shall be made
   payable to Jeffrey Weinman, Chapter 7 Trustee and mailed to 730 17th Street, Suite 240,
   Denver, CO 80202.

           9.       Although Trustee believes he has a strong case, there are always inherent
   risks of litigation. He asserts that it is in the best interest of the estate and Debtors to
   avoid litigation regarding the Motion to Abandon and Response concerning Debtors PI
   Claim. Trustee believes that the proposed settlement is in the best interests of the
   bankruptcy estate because it avoids the potentially substantial costs and uncertainties
   identified in the previous paragraphs, while also expediting administration of this case.

                                 PRAYER FOR RELIEF

           WHEREFORE, Trustee prays that this Court approve the Settlement Agreement
   and further relief as this Court deems as just and proper.

   Dated: January 29, 2019

                                                Respectfully submitted,


                                                _____________________________
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